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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 14-962V
                                       Filed: May 8, 2017
                                       Not for Publication

*************************************
WENDY WARD,                                *
                                           *
               Petitioner,                 *       Attorneys’ fees and costs decision;
                                           *       reasonable attorneys’ fees and
 v.                                        *       costs
                                           *
SECRETARY OF HEALTH                        *
AND HUMAN SERVICES,                        *
                                           *
              Respondent.                  *
                                           *
*************************************
Lawrence R. Cohan, Philadelphia, PA, for petitioner.
Michael P. Milmoe, Washington, DC, for respondent.


MILLMAN, Special Master

                DECISION AWARDING ATTORNEYS’ FEES AND COSTS 1

        On October 8, 2014, petitioner filed a petition for compensation under the National
Childhood Vaccine Injury Act, 42 U.S.C. §§ 300aa-10–34 (2012). Petitioner alleged that she
suffered Bell’s palsy caused by her receipt of the trivalent influenza vaccine. On January 5,
2017, the undersigned issued a decision awarding damages to petitioner based on the parties’
stipulation.


1
 Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012)
(Federal Management and Promotion of Electronic Government Services). Vaccine Rule 18(b) states that
all decisions of the special masters will be made available to the public unless they contain trade secrets
or commercial or financial information that is privileged and confidential, or medical or similar
information whose disclosure would constitute a clearly unwarranted invasion of privacy. When such a
decision is filed, petitioner has 14 days to identify and move to redact such information prior to the
document=s disclosure. If the special master, upon review, agrees that the identified material fits within
the banned categories listed above, the special master shall redact such material from public access.
                                                     1
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       On April 19, 2017, petitioner filed a motion for attorneys’ fees and costs, requesting
attorneys’ fees of $29,780.50 and attorneys’ costs of $3,810.25 for a total request of $33,590.75.
In compliance with General Order #9, petitioner stated in the fee application that she has not
advanced any funds in pursuit of her claim. Fee app. at ¶ 5.

        On May 8, 2017, respondent filed a response to petitioner’s motion explaining that he is
satisfied this case meets the statutory requirements for an award of attorneys’ fees and costs
under 42 U.S.C. § 300aa-15(e)(1)(A)-(B). Resp. at 2. Respondent “respectfully recommends
that the [undersigned] exercise her discretion and determine a reasonable award for attorneys’
fees and costs.” Id. at 3.

        The Vaccine Act permits an award of “reasonable attorneys’ fees” and “other costs.”
42 U.S.C. § 300aa-15(e)(1). It is not necessary for a petitioner to prevail in the case-in-chief in
order to receive a fee award as long as petitioner brought the claim in “good faith and there was a
reasonable basis for the claim.” Id. The special master has “wide discretion in determining the
reasonableness” of attorneys’ fees and costs. Perreira v. Sec’y of HHS, 27 Fed. Cl. 29, 34
(1992), aff’d, 33 F.3d 1375 (Fed. Cir. 1994); see also Saxton ex rel. Saxton v. Sec’y of HHS, 3
F.3d 1517, 1519 (Fed. Cir. 1993) (“Vaccine program special masters are also entitled to use their
prior experience in reviewing fee applications.”).
        Based on her experience and review of the billing records submitted by petitioner, the
undersigned finds that petitioner’s attorneys’ fees and costs request is reasonable. Therefore, the
undersigned GRANTS petitioner’s Motion for Attorneys’ Fees and Costs. Accordingly, the
court awards $33,590.75. The award shall be in the form of a check made payable jointly to
petitioner and Anapol Weiss in the amount of $33,590.75.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith. 2


IT IS SO ORDERED.


Dated: May 8, 2017                                               s/ Laura D. Millman
                                                                  Laura D. Millman
                                                                    Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
